Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 1 of 7 PageID #: 718



                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF RHODE ISLAND
 ________________________________________
                                          )
 UMB BANK, N.A., as Trustee,              )
                                          )
           Plaintiff,                     )
                                          )
      v.                                  )    C.A. No. 19-182 WES
                                          )
 CITY OF CENTRAL FALLS; JAMES A. DIOSSA, )
 MAYOR OF THE CITY OF CENTRAL FALLS;      )
 MARIA RIVERA, CITY COUNCILOR; JONATHAN )
 ACOSTA, CITY COUNCILOR; HUGO FIGUEROA, )
 CITY COUNCILOR; FRANKLIN SOLANO, CITY    )
 COUNCILOR; JESSICA VEGA, CITY COUNCILOR,)
 CENTRAL FALLS DETENTION FACILITY         )
 CORPORATION; WILDER ARBOLEDA,            )
 CORPORATION DIRECTOR; GARY BERDUGO,      )
 CORPORATION DIRECTOR; JOSEPH MOLINA      )
 FLYNN, CORPORATION DIRECTOR; and         )
 HERMAN YIP, CORPORATION DIRECTOR,        )
                                          )
                Defendants.               )
 ________________________________________)

   ORDER GRANTING PRELIMINARY INJUNCTION AND APPOINTMENT OF BOARD
       MONITOR PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 65

       On   April   10,   2019,   UMB   Bank,   N.A.,   (the   “Trustee”),   as

 indenture trustee, filed its Verified Petition for Appointment of

 Receiver and Complaint (the “Verified Petition” 1) against the

 Central Falls Detention Facility Corporation (the “Corporation”),

 the City of Central Falls (the “City”), Mayor James A. Diossa (the

 “Mayor”), City Councilors Maria Rivera, Jonathan Acosta, Hugo

 Figueroa, Franklin Solano, and Jessica Vega (collectively, the

 “City Council”), and the Board of Directors for the Corporation,


       1Capitalized terms used herein but not otherwise defined
 herein shall have the meaning ascribed to such term in the Verified
 Petition.
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 2 of 7 PageID #: 719



 Wilder Arboleda, Gary Berdugo, Joseph Molina Flynn, and Herman Yip

 (collectively,     the   “Board   of   Directors”),       for     violations    of

 statutory law, common law, and contract, and for declaratory

 relief, along with its Motion to Appoint a Receiver and for

 Preliminary Injunction Pursuant to Federal Rule of Civil Procedure

 65 (the “Motion”).

       Upon due consideration of the Verified Petition, the Motion,

 and the terms set forth herein, it appearing that sufficient notice

 has been given to all necessary parties, that this Court has

 jurisdiction with respect to the matters set forth in the Verified

 Petition, the Motion, and this Order (the “Order”), and that this

 is a proper case for entry of a preliminary injunction and related

 relief, the Court finds that the Trustee’s showing is sufficient,

 and   considering    the   interests       of   both   the    Trustee    and   the

 Corporation, the entry of a preliminary injunction is necessary and

 appropriate as set forth herein, and is consistent with the terms

 set forth in this Court’s Order Appointing Special Master, entered

 today.

 IT IS ORDERED THAT:

       1.    The   Trustee’s   request       for   entry      of   a   preliminary

             injunction is GRANTED as provided herein.

       2.    This litigation between and among the parties hereto is

             stayed until July 24, 2019, (the “Termination Date”).

             The Court shall review the status of the litigation at

             its status conference on July 11, 2019, at 10:00 AM.

       3.    The Board of Directors of the Corporation is directed on

             or before April 29, 2019, to:



                                        2
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 3 of 7 PageID #: 720



             A.    Rescind:     (i) the April 5, 2019, vote of the Board

                   of Directors, requiring:       (a) suspending the January

                   9, 2019, Modification of Intergovernmental Agreement

                   (the “ICE Addendum”), (b) the Warden to arrange for

                   the ICE detainees to be removed from the Wyatt prior

                   to   April    12,    2019,    and     (c)   the     Warden   and

                   Corporation’s       legal   counsel    to   draft    rules   and

                   regulations in accordance with RI Gen. Laws § 54-45-

                   6; and (ii) the April 14, 2019, vote of the Board of

                   Directors staying for 30 days the aforesaid April 5,

                   2019, vote suspending the ICE Addendum;

             B.    Ratify the ICE Addendum in accordance with its terms

                   and conditions set forth therein; and

             C.    Direct the Warden to provide immediate notice to ICE

                   that the Corporation has rescinded its suspension of

                   the ICE Addendum.

 It is the intent of the Parties that the Warden will continue to

 manage the day-to-day operations of the Corporation and perform the

 Corporation’s contractual obligations under the USMS Contract, the

 ICE Addendum, and all other contracts relating to the detention of

 persons at the Wyatt in accordance with contractual terms and under

 applicable law.

       4.    The Board of Directors of the Corporation is directed to,

             on or before May 14, 2019, take action to unseal such

             portions of the April 24, 2019, Board meeting minutes

             that reflect the votes and actions set forth in Paragraph

             3(A), (B), and (C) above.



                                         3
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 4 of 7 PageID #: 721



       5.    Effective as of April 24, 2019, and continuing through

             and including the Termination Date, the Court appoints

             Mr. Peter Argeropulos to act as Board Monitor, subject to

             the timely filing of any objection by a party to this

             litigation challenging Mr. Argeropulos’s qualifications

             on or before April 29, 2019.           The Board of Directors

             shall advise of and contemporaneously provide the Board

             Monitor   with   copies    of   all   material     communications

             to/from the Board of Directors to the extent they may

             impact the assets of the Corporation, the security of the

             Bonds, and/or the revenue stream of the Corporation with

             any    necessary     redactions       to    the     extent    such

             communications      are   subject     to   the    attorney-client

             privilege (collectively “Impacting Activities”).             Until

             the occurrence of the Termination Date, the Board Monitor

             is authorized to:

             A.    Participate in the Board of Directors’ activities,

                   including Board activities in executive session (but

                   excluding any attorney-client privileged

                   communications), and to take whatever actions are

                   necessary in furtherance of the scope of his

                   assignment;

             B.    Communicate directly with the Warden for the

                   Corporation and other Corporation employees and/or

                   agents as may be necessary including the

                   Corporation’s legal counsel, the Trustee, and

                   counsel to the Trustee;



                                       4
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 5 of 7 PageID #: 722



             C.    Should the Board Monitor believe that any proposed

                   Board of Director activity or vote may be an

                   Impacting Activity he shall, as soon as practicable,

                   provide notice of such Impacting Activity to the

                   Special Master, Board of Directors, the Corporation,

                   and counsel to the Trustee, and such Board activity

                   shall be automatically stayed pending a resolution

                   process set forth in Paragraph 4(D) below; provided,

                   however, that should the Warden determine in his
                   sole and absolute discretion that such Impacting

                   Activity would negatively impact the immediate life,

                   safety, or security at the Wyatt, that the Warden

                   shall be authorized to take actions he deems

                   necessary to protect such interests, and thereafter

                   he shall report such actions to the Special Master,

                   Board of Directors, Board Monitor, and Trustee for

                   further review in accordance with Paragraph 4(D)

                   below;

             D.    Engage in discussions and negotiations with the

                   Special Master, Trustee, Corporation, and the Board

                   of Directors concerning the alleged Impacting

                   Activities (each, a “Dispute” and, collectively,

                   “Disputes”).    To the extent a Dispute is not

                   resolved to the satisfaction of the Board Monitor,

                   Special Master, Trustee, Corporation, or Board of

                   Directors, any such party may seek relief from this

                   Court, including on an expedited basis;



                                      5
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 6 of 7 PageID #: 723



             E.    Have standing and be available to the Court upon

                   request of the Court, the Special Master, and/or any

                   Party to present the Board Monitor’s position and

                   recommendation concerning any Dispute presented to

                   the Special Master and/or the Court; and

             F.    To take all other actions consistent with the powers

                   and rights listed above; provided, however, that

                   nothing set forth herein shall be deemed to modify

                   R.I. Gen. Laws § 42-46-1 et seq.
 The Board Monitor shall earn and be paid $5,000 monthly in arrears,

 plus reasonable out-of-pocket costs by the Corporation from its

 operating revenues, until the Termination Date.           The Board Monitor

 shall be relieved of filing any notice or petition to this Court

 for payment of his fees as set forth herein.

       6.    The Corporation, along with its Board of Directors,

             agents, employees, officials, officers, and successors,

             shall fully cooperate with the Board Monitor in all

             matters related to this Order.

       7.    The Mayor, through its City Solicitor, shall provide

             counsel for the Trustee notice of any nominee to serve as

             a Director for the Corporation no later than five (5)

             business days prior to a City Council meeting to consider

             such nomination.

       8.    Except as expressly provided in this Order, the Board of

             Directors   shall   continue    to   manage   the   Corporation

             pursuant to R.I. Gen. Laws § 45-54-1 et seq. and the by-

             laws of the Corporation.



                                      6
Case 1:19-cv-00182-WES-PAS Document 47 Filed 04/26/19 Page 7 of 7 PageID #: 724



       9.    Except as expressly provided in this Order, nothing

             herein shall affect any of the rights and remedies under

             the Bond Documents or the defenses and counterclaims

             thereto.

       10.   Except as expressly provided in this Order, all parties

             hereto retain all of their available rights, remedies,

             and claims raised in this matter or the defenses and

             counterclaims thereto.




 William E. Smith
 Chief Judge
 Date: April 26, 2019




                                      7
